10/04/2022                                                                                     Judge Teresa H Pearson

02:00 22-30228-thp11                    AAIM CARE, LLC - db
                                        Dr. Stephen Fritz - cr                   SUSAN FORD; GARRETT EGGEN

                                        US Trustee, Portland -ust                CHRISTIAN TORIMINO

Matter: Show Cause Hearing Re: 189 Order Granting Expedited MOTION FOR ORDER TO APPEAR
AND SHOW CAUSE WHY DR. SANJEEV JAIN AND RAJEEV JAIN SHOULD NOT BE HELD IN
CONTEMPT FOR FAILURE TO COMPLY WITH ORDER GRANTING MOTION FOR ORDER
AUTHORIZING RULE 2004 EXAMINATIONS AND PRODUCTION OF DOCUMENTS
REGARDING DEBTOR AND NON-DEBTOR AFFILIATES AND CHASE BANK Filed by Creditor
Stephen Fritz, M. D. (EGGEN, GARRETT) Doc# 161

Additional Appearances: Dr. Sanjeev Jain; Rajeev Jain

Summary of Proceedings

Sworn and testified: Dr. Sanjeev Jain; Rajeev Jain.

After testimony and argument from the parties, the Court found that there was cause to hold Dr. Sanjeev Jain
and Rajeev Jain in contempt for failure to comply with the Rule 2004 examination order requiring production of
documents entered on 6/27/2022 (ECF No. 125). The Court will award attorney fees and costs to Dr. Fritz and
against Dr. Sanjeev Jain and Rajeev Jain for the reasonable amounts Dr. Fritz has incurred to date to enforce
compliance with the order by Dr. Sanjeev Jain and Rajeev Jain.

Counsel for Dr. Fritz shall submit a fee itemization, which Dr. Sanjeev Jain and Rajeev Jain will have an
opportunity to review and object to in the ordinary course, and the court will determine the reasonable fees and
costs.

In the meantime, Dr. Sanjeev Jain and Rajeev Jain still need to comply with the Rule 2004 examination order.
If they have not complied and produced the remaining documents required by the order by 10/19/2022, Dr.
Fritz's counsel should inform the court, and the court will consider the necessity for further sanctions to ensure
compliance.


Order to be prepared by:                 Clerk’s Office                  Chambers           Other:

Minute Order:




                              Case 22-30228-thp11             Doc 206       Filed 10/04/22
